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UNITED STATES DISTRICT COURT

 

FOR THE
DISTRICT OF VERMONT
UNITED STATES OF AMERICA
Vv.
JOHN KAYE, No 5/9 wer LA7
Defendant.
INDICTMENT
The Grand Jury charges:
Count One

On or about October 16, 2019, in the District of Vermont, the defendant, JOHN KAYE
knowingly and intentionally possessed with intent to distribute more than 500 grams of a

substance containing a detectable amount of cocaine, a Schedule IJ controlled substance.

(21 U.S.C. 8§ 841(a)(1) & (b)(1)(B))
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Count Two
On or about October 7, 2019, in the District of Vermont, the defendant, JOHN KAYE

knowingly and intentionally distributed cocaine, a Schedule II controlled substance.

(21 US.C. §§ 841 (aj) & (6) 1)\(C))
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Forfeiture Notice — No. One

1. The above allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to 21 U.S.C. § 853.
2. Pursuant to 21 U.S.C. § 853, upon conviction of an offense in violation of 21 U.S.C.
§ 841(a)(1), the defendant, JOHN KAYE, shall forfeit to the United States any property
constituting, or derived from, any proceeds obtained, directly or indirectly, as a result of such
offenses and any property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, the offenses. The property to be forfeited includes, but is not
limited to, the amount of United States currency used to facilitate the violation in Count One, in
an amount of at least $45,000, as well as United States currency in the amount of the gross
proceeds obtained as a result of the violation in Count Two, in an amount of at least $225.
3. If any forfeitable property described above, as a result of any act or omission of the
defendant:
(1) cannot be located upon the exercise of due diligence;
(2) has been transferred or sold to, or deposited with, a third party;
(3) has been placed beyond the jurisdiction of the court;
(4) has been substantially diminished in value; or
(5) has been commingled with other property which cannot be subdivided
without difficulty, the United States shall be entitled to forfeiture of substitute property pursuant
to 21 U.S.C. § 853¢p).

(21 U.S.C. § 853)
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A TRUE BILL

 

   

 

CI
United States Attorney
Burlington, Vermont
October 24, 2019
